                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            CASE NO. 3:24-CV-325-KDB-DCK

 JUAN WHIPPLE, d/b/a Queen City Tours,              )
                                                    )
                  Plaintiff,                        )           PROTECTIVE ORDER
                                                    )
     v.                                             )
                                                    )
 KEVIN MARCUSE, d/b/a Queen City Rides              )
 LLC, and LANCE ZAAL, d/b/a US Ghost                )
 Adventures LLC, d/b/a Queen City Ghosts,           )
                                                    )
                  Defendants.                       )
                                                    )

          THIS MATTER IS BEFORE THE COURT on Defendants’ “Motion For Entry Of

Proposed Protective Order” (Document No. 56) filed December 20, 2024. This motion has been

referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion and the record, including Plaintiff’s

proposed Orders, the undersigned will grant the motion and enter Defendants’ proposed Order as

follows.

1.        Scope. All documents produced in the course of discovery, all responses to discovery

requests and all deposition testimony and deposition exhibits and any other materials which may

be subject to discovery (hereinafter collectively “documents”) shall be subject to this Order

concerning confidential information as set forth below.

          2.     Form and Timing of Designation. Confidential documents shall be so designated

by placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not

interfere with the legibility of the document and which will permit complete removal of the

Confidential designation.       Documents shall be designated CONFIDENTIAL prior to, or




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contemporaneously with, the production or disclosure of the documents.               Inadvertent or

unintentional production of documents without prior designation as confidential shall not be

deemed a waiver, in whole or in part, of the right to designate documents as confidential as

otherwise allowed by this Order.

       3.      Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by a party or an attorney who

has, in good faith, determined that the documents contain information protected from disclosure

by statute, sensitive personal information, trade secrets, or confidential research, development, or

commercial information. The certification shall be made concurrently with the disclosure of the

documents, using the form attached hereto at Attachment A which shall be executed subject to

the standards of Rule 11 of the Federal Rules of Civil Procedure. Information or documents which

are available in the public sector may not be designated as confidential.

       4.      Depositions.     Portions of depositions shall be deemed confidential only if

designated as such when the deposition is taken or within seven (7) business days after receipt of

the transcript. Such designation shall be specific as to the portions to be protected.

       5.      Protection of Confidential Material.

       a.      General Protections. Documents designated CONFIDENTIAL under this Order

       shall not be used or disclosed by the parties or counsel for the parties or any other persons

       identified below (¶ 5.b.) for any purposes whatsoever other than preparing for and

       conducting the litigation in which the documents were disclosed (including any appeal of

       that litigation).

       b.      Limited Third Party Disclosures. The parties and counsel for the parties shall

       not disclose or permit the disclosure of any documents designated CONFIDENTIAL under



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  the terms of this Order to any other person or entity except as set forth in subparagraphs

  (1)-(5) below.

         (1)       counsel and employees of counsel for the parties who have responsibility

         for the preparation and trial of the lawsuit;

         (2)       parties and employees of a party to this Order but only to the extent counsel

         determine, in good faith, that the employee’s assistance is necessary to the conduct

         of the litigation in which the information is disclosed;

         (3)       court reporters engaged for depositions and those persons, if any,

         specifically engaged for the limited purpose of making photocopies of documents;

         (4)       consultants, investigators, or experts (hereinafter referred to collectively as

         “experts”) employed by the parties or counsel for the parties to assist in the

         preparation and trial of the lawsuit; and

         (5)       other persons only upon consent of the producing party or upon order of the

         court and on such conditions as are agreed to or ordered.

  c.     Control of Documents. Counsel for the parties shall take reasonable efforts to

  prevent unauthorized disclosure of documents designated as Confidential pursuant to the

  terms of this order.

  d.     Copies. All copies, duplicates, extracts, summaries or descriptions (hereinafter

  referred to collectively as “copies”), of documents designated as Confidential under this

  Order or any portion of such a document, shall be immediately affixed with the designation

  “CONFIDENTIAL” if the word does not already appear on the copy. All such copies shall

  be afforded the full protection of this Order.




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       6.      Filing of Confidential Materials. In the event a party seeks to file any material

that is subject to protection under this Order with the court, that party shall take appropriate action

to ensure that the documents receive proper protection from public disclosure including: (1) filing

a redacted document with the consent of the party who designated the document as confidential;

(2) where appropriate (e.g. in relation to discovery and evidentiary motions), submitting the

documents solely for in camera review; or (3) where the preceding measures are not adequate,

seeking permission to file the document under seal pursuant to the procedural steps set forth in

Local Civil Rule 6.1 and applicable law. Absent extraordinary circumstances making prior

consultation impractical or inappropriate, the party seeking to submit the document to the Court

shall first consult with counsel for the party who designated the document as confidential to

determine if some measure less restrictive than filing the document under seal may serve to provide

adequate protection. Nothing in this Order shall be construed as a prior directive to the Clerk of

Court to allow any document to be filed under seal. The parties understand that documents may

be filed under seal only with the permission of the court after proper motion is filed. Unless

properly filed under seal, any motion, memorandum, document or other paper filed with the Court

is presumptively a public document and any decision of the Court regarding whether to allow any

filing to be made under seal is subject to Local Rule 6.1 and applicable law.

       7.      Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an Order providing such special protection.

       8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

is subject to challenge.   The following procedures shall apply to any such challenge.




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  a.     The burden of proving the necessity of a Confidential designation remains with the

  party asserting confidentiality.

  b.     A party who contends that documents designated CONFIDENTIAL are not entitled

  to confidential treatment shall give written notice to the party who affixed the designation

  of the specific basis for the challenge. The party who designated the documents shall have

  fifteen (15) days from service of the written notice to determine if the dispute can be

  resolved without judicial intervention and, if not, to move for an Order confirming the

  Confidential designation. Failure to either resolve the dispute or to move for an Order

  confirming the Confidential designation within the fifteen day period, shall constitute a

  withdrawal of the Confidential designation of the document(s) in question.

  c.     Notwithstanding any challenge to the designation of documents as confidential, all

  material previously designated CONFIDENTIAL shall continue to be treated as subject to

  the full protections of this Order until one of the following occurs:

         (1)     the party who claims that the documents are confidential withdraws such

         designation in writing;

         (2)     the party who claims that the documents are confidential fails to move

         timely for an Order designating the documents as confidential as set forth in

         paragraph 8.b. above; or

         (3)     the Court rules that the documents should no longer be designated as

         confidential information.

  d.     Challenges to the confidentiality of documents may be made at any time and are

  not waived by the failure to raise the challenge at the time of initial disclosure or

  designation.



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       9.      Treatment on Conclusion of Litigation.

       a.      Order Remains in Effect. All provisions of this Order restricting the use of

       documents designated CONFIDENTIAL shall continue to be binding after the conclusion

       of the litigation unless otherwise agreed or ordered. The ultimate disposition of materials

       protected under this Order shall be subject to a final order of the Court on the completion

       of the litigation.

       b.      Return of CONFIDENTIAL Documents. Within thirty (30) days after the

       issuance of a final order of the Court on the completion of the litigation, all documents

       treated as confidential under this Order, including copies as defined above (¶5.d.) shall be

       returned to the producing party unless: (1) the document has been entered as evidence or

       filed (unless introduced or filed under seal); (2) the parties stipulate to destruction in lieu

       of return; or (3) as to documents containing the notations, summations, or other mental

       impressions of the receiving party, that party elects destruction. Notwithstanding the above

       requirements to return or destroy documents, counsel may retain attorney work product

       including an index which refers or relates to information designated CONFIDENTIAL so

       long as that work product does not duplicate verbatim substantial portions of the text of

       confidential documents. This work product continues to be Confidential under the terms

       of this Order. An attorney may use his or her work product in a subsequent litigation

       provided that its use does not disclose the confidential documents.

       10.     Order Subject to Modification. This Order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,




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however, be modified until the parties shall have been given notice and an opportunity to be heard

on the proposed modification.

       11.     No Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any specific document or item of

information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

of the Federal Rules of Civil Procedure or otherwise until such time as a document-specific ruling

shall have been made.

       12.     This Order shall take effect when entered and shall be binding upon all parties and

counsel in this action and their respective law firms and clients.

       SO ORDERED.

                          Signed: December 27, 2024




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                               CHARLOTTE DIVISION
                            CASE NO. 3:24-CV-325-KDB-DCK

 JUAN WHIPPLE, d/b/a Queen City Tours,                  )
                                                        )
                  Plaintiff,                            )             CERTIFICATION OF
                                                        )             CONFIDENTIALITY
                                                        )               DESIGNATION
     v.                                                 )
                                                        )
 KEVIN MARCUSE, d/b/a Queen City Rides                  )
 LLC, and LANCE ZAAL, d/b/a US Ghost                    )
 Adventures LLC, d/b/a Queen City Ghosts,               )
                                                        )
                  Defendants.                           )
                                                        )


          Documents produced herewith [whose bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the Protective
Order entered in this action on December 27, 2024.


          By signing below, I am certifying that I have personally reviewed the marked documents
and believe, based on that review, that they are properly subject to protection under the terms of
Paragraph 3 of the Confidentiality Order.


          I understand that by completing this certification I am submitting to the jurisdiction of the
United States District Court for the Western District of North Carolina as to any matter relating to
this certification.




Date: __________________                                       [                               ]
                                                               Signature of Party/Counsel




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